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              IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,           )
                                    )
v.                                  )   Case No. 1:23mj00043-MAU
                                    )   Pretrial Hearing: 3/2/23 @ 1 p.m. (virtual)
JEFFREY MICHAEL ETTER,              )
                                    )
            Defendant.              )
____________________________________)

                    NOTICE OF ENTRY OF APPEARANCE OF COUNSEL

       PLEASE NOTE the appearance of Lana Manitta, Esq. of The Law Office of Lana

Manitta, PLLC, as counsel of record for Defendant, Jeffrey Michael Etter, in the above-

captioned matter.

                                            Respectfully submitted,

                                            JEFFREY MICHAEL ETTER
                                            By Counsel




THE LAW OFFICE OF LANA MANITTA, PLLC

By:              /s/                               .
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Counsel for Defendant




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                 CERTIFICATE OF ELECTRONIC FILING/SERVICE

        I HEREBY CERTIFY THAT on this the 28th day of February, 2023, I filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send a Notice of Electronic
Filing (NEF) to all counsel of record.

THE LAW OFFICE OF LANA MANITTA, PLLC

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